                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


JUSTIN BLAKE,

       Plaintiff,

                                                          Case No. 22-CV-970

DAVID BETH in his individual capacity and official
capacrty,
COUNTY OF KENOSHA a municipal corporation,
KYLE BISSONNETTE in his officiai capacity,
JACOB DiCELLO in his official capacity,
GLORIA GALVAN in her official capacity,
DEREEMEYL]N HAYNES in his official capacity
JEREMY MAY in his official capacity,
JOHN DOE OFFICERS in the Kenosha County
Sheriff s Department 1-10,
WISCONSIN COLINTY MUTUAL INSURANCE
COMPANY, and
ABC INSURANCE COMPANY

       Defendants.


   DEFENDANTS DAVID G. BETH, COUNTY OF KENOSHA, KYLE BISSONETTE,
   JACOB DICELLO, GLORIA GALVAN, DEREEMEYT]N IIAYNES AND JEREMY
               MAY'S RULE 26(a)(1) INITIAL DISCLOSURES


       Defendants, David G. Beth, County of Kenosha, Kyle Bissonnette, Jacob DiCello, Gloria

Galvan, Dereemeyun Haynes and Jeremy May (herein, "Kenosa County Defendants"), by their

attomeys, Crivello Carlson, S.C., submit the following disclosures plusuant to Rule 26(a)(1) of

the Federal Rules of Civil Procedure. Kenosha County Defendants reserve the right to

supplement or amend the initial disclosures to include additional investigation. Kenosha County

Defendants make these disclosures subject to, and without waiving, their right to protect from




      Case 2:22-cv-00970-PP        Filed 05/20/25    Page 1 of 7     Document 114-8
disclosures any and all communications protected by the attorney-client privilege, the attorney

work product doctrine, or any other applicabie privilege or discovery protection.

       A.      The name and, if known, the address and telephone number ofeach individual

likely to have discoverable information - along with the subjects ofthat information - that the

disclosing party may use to support its claims or defenses, unless the use would be solely for

impeachment.

       1.      Kenosha County employees and offrcials as well as Kenosha County Sheriff s
               Deparftnent C'KCSD') employees and officials, including but not limited to:

                      Admissions/Release Specialist Rachael Bellaire: Ms. Bellaire was
                      employed by Kenosha County on or around the time of the incident. She
                      may have knowledge and information of the events leading up to and
                      following the subject incident. She may be contacted through arrangements
                      with counsel.

               b.     KCSD Deoutv Kyle Bissonnette: Mr. Bissonnette is a named party to this
                      matter and was employed by KCSD on or around the time of the incident.
                      He may have knowledge and information of the events leading up to and
                      following the subject incident. He may be contacted through arrangements
                      with counsel.

               c.      Correctional Officer Jacob P. DiCello: Mr. DiCello is a named party to
                       this matter and was employed by Kenosha County on or around the time of
                       the incident. He may have knowledge and information of the events leading
                       up to and following the subject incident. He may be contacted through
                       arrangements with counsel.

               d.      Correctional Offrcer Gloria E. Galvan: Ms. Galvan is a named party to this
                       matter and was employed by Kenosha County on or around the time of the
                       incident. She may have knowledge and information of the events leading up
                       to and following the subject incident. She may be contacted through
                       arrangements with counsel.

               e.      KCSD Deputv Allison George: Ms. George was employed by KCSD on or
                       around the time of the incident. She may have knowledge and information of
                       the events leading up to and following the subject incident. She may be
                       contacted through arrangements with counsel.

               f.      Correctional Officer Dereemevun M. Havnes: Mr. Haynes is a named
                       party to this matter and was employed by Kenosha County on or around the


                                                 2

      Case 2:22-cv-00970-PP         Filed 05/20/25     Page 2 of 7      Document 114-8
            time of the incident. He may have knowledge and information of the events
            leading up to and following the subject hcident. He may be contacted
            through arrangements with counsel.

            Correctional Officer Stephanie Kohnke: Ms. Kohnke was employed by
            Kenosha County on or around the time of the incident. She may have
            knowledge and information of the events leading up to and following the
            subject incident. She may be contacted tlrough arrangements with counsel.

      h.    KCSD Depuly__Buqa,Kq$haitzkg: Mr. Koschnitzke was employed by
            KCSD on or around the time of the incident. He may have knowledge and
            information of the events leading up to and following the subject incident.
            He may be contacted through arrangements with counsel.

      1.    KCSD Sergeant Kenneth Krenz: Mr. Krenz was employed by KCSD on or
            around the time of the incident. He may have knowledge and information of
            the events leading up to and following the subject incident. He may be
            contacted through arrangements with counsel.

            KCSD Deputv Julia Mancl: Ms. Mancl was employed by KCSD on or
            around the time of the incident. She may have knowledge and bformation of
            the events leading up to and following the subject incident. She may be
            contacted through arrangements with counsel.

      k.    KCSD Sergeant Ryan J. Markowski: Mr. Markowski was employed by
            KCSD on or around the time of the incident. He may have knowledge and
            information of the events ieading up to and following the subject incident.
            He may be contacted through arrangements with counsel.

       l.   KCSD Sergeant Jeremv May: Mr. May is a named party to this matter and a
            Sergeant for Kenosha County who was employed by KCSD on or around the
            time of the incident. He may have knowledge and informalion of the events
            leading up to and following the subject incident. He may be contacted
            through arrangements with counsel.

       m.   KCSD Lieutenant Neil Paulson: Mr. Paulson was empioyed by KCSD on
            or around the time of the incident. He may have knowledge and information
            of the events leading up to and following the subject incident. He may be
            contacted t}rough arrangements with counsel.

       n.   KCSD Sergeant Michael Pittslev: Mr. Pittsley was employed by KCSD on
            or around the time of the incident. He may have knowledge and information
            of the events leading up to and following the subject incident. He may be
            contacted through arrangements with cormsel.




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Case 2:22-cv-00970-PP    Filed 05/20/25     Page 3 of 7     Document 114-8
      o.      KCSD Deputy Christopher Schneider: Mr. Schneider was employed by
              KCSD on or around the time of the incident. He may have knowledge and
              information of the events leading up to and following the subject incident.
              He may be contacted through arrangements with counsel.

      p.      KCSD Lieutenant Kenneth D. Urquhart: Mr. Urquhart was employed by
              KCSD on or around the time of the incident. He may have knowledge and
              information of the events leading up to and following the subject incident.
              He may be contacted through arrangements with counsel.

       q.     Veronica Gloria: Ms. Gloria was employed by Kenosha County on or around
              the time of the incident. She may have knowledge and information of the
              events leading up to and following the subject incident. She may be
              contacted through anangements with counsel.

      r.      Victoria Maccari: Ms. Maccari was employed by Kenosha County on or
              around the time of the incident. She may have knowledge and information of
              the events leading up to and following the subject incident. She may be
              contacted through arrangements with counsel.

 2.    Kenosha Police Department ("KPD") employees and officials, including but not
       limited to:

       a.     KPD Serseant Lane: Mr. Lange was employed by KCSD on or around the
              time of the incident. He may have knowledge and information of the events
              leading up to and following the subject incident. He may be contacted at:

                      1000 55th Steet
                      Kenosha, WI 53140
                      (262) 6s6-t234


 J.    Jessica Bergmann: Ms. Bergmann was employed by NaphCare on or around the
       date of the incident and was present at the time of the incident. She may have
       knowledge and information of the events leading up to and following the subject
       incident. Ms.Bergmann's contact information is currently unknown.

 4.    Representative(s) of NaphCare: Kenosha County contracts with NaphCare to
       provide medical care to inmates. Its representative(s) will be identified through the
       course of discovery in this matter and may have knowledge and infoirnation of the
       events leading up to and following the subject incident. Their contact information is
       cunent$ unknown.

 4.    Associates of Mr. Blake's present for the arrest, including but not limited to:




                                          4

Case 2:22-cv-00970-PP        Filed 05/20/25      Page 4 of 7      Document 114-8
               a.      Jonathan Wesley Barker: Mr. Barker was present for the initial arrest of Mr.
                       Blake. He may have knowledge and information of the events leading up to
                       and following the subject incident. He may be contacted at:

                               47 14 40t1 St. Northbound
                               Milwaukee, WI 53209

               b.      Joseph Michael Cardinali: Mr. Cardinali was present for the idtial arrest of
                       Mr. Blake. He may have knowledge and information of the events leading
                       up to and following the subject incident. He may be contacted at:

                               1618 12thAve.
                               Kenosha, WI 53140

               Any and all individuals identified as a witness throughout the investigation of the
               incident, including but not limited to:

               a.      Judith Christine Devine: Ms. Devine was present at or near the Kenosha
                       County Records Department at or around the time of the incident. She may
                       have knowledge and information of the events leading up to and following
                       the subject incident. She may be contacted at:

                       1203 53rd Ave.
                       Kenosha, WI 53144
                       (262) 914-sr29

               b.      Bonnie Cunningham: Ms. Cunningham was present at or near the Kenosha
                       County Records Department at or around the time of the incident. She may
                       have knowledge and information of the events leading up to and following
                       the subject incident. Ms. Cunningham's contact information is currently
                       unknown.

       6.      Any and all individuals referenced in the documents listed along with Kenosha
               County Defendants' and Plaintiff s Rule 26(a)(1) Initial Disclosures, and in any
               documents produced by any party in discovery.

       7       Kenosha County Defendants hereby incorporates any other witnesses identified by
               any other party in their Initial Disclosures, including supplements thereto, or other
               written discovery or expert disclosures and, further, hereby resewe the right to
               amend, supplement, correct, or clariff these Initial Disclosures as discovery
               progresses.

Defendants reserve the right to supplement, correct, or clarifu these initial disclosures as discovery
progrcsses.




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      Case 2:22-cv-00970-PP          Filed 05/20/25        Page 5 of 7    Document 114-8
       B.      A copy - or a description by category and location - of all documents,
electronically stored information, and tangible things that the disclosing party has in its

possession, custody, or control and may use to suppoft its claims or defenses, unless the use

would be solely for impeachment.

        1.     Mr. Blake's file from Kenosha County Jail

       2.      Kenosha County Jail policies and procedures

        3.     Investigative reports from Kenosha County Sheriff s Department related to their
               investigation of this incident

       4.      Twenty-three (23) videos depicting KCSD's custody of Mr. Blake during the subject
               incident.

        5.     One (1) recorded jail telephone call made by Mr. Blake.

Defendants reserve the right to supplement, correct, or clarifr these initial disclosures as discovery
progresses.

        C.     A computation of any category of damages claimed by the disclosing party -

who must also make available for inspection and copying as under Rule 34 the documents or

other evidentiary material, unless privileged or protected from disclosure, on which each

computation is based, including materials bearing on the nature and extent of injuries

suffered.

        Not applicable. Kenosha Cormty Defendants specifically reserve the right to amend this

response.

        D.     tr'or inspection and copying as under Rule 34, any insurance agreement under

which an insurance business may be liable to satisf all or part of a possible judgment in the

action or to indemnif or reimburse for payments made to satisfu the judgment.

        Enclosed please find a copy of Kenosha County's insurance policy tlrough Wisconsin

Municipal Mutual Insurance Company.


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      Case 2:22-cv-00970-PP          Filed 05/20/25      Page 6 of 7      Document 114-8
       Dated thisJ0 day ofNovember, 2022.

                                           CRIVELLO CARLSON, S.C.


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                                                  State Bar No. 1045476
                                                  STEVEN C. MCGAVER
                                                  State Bar No. 1051898
                                                  BRIANNA J. MEYER
                                                  State Bar No. 1098293
                                                  Attomeys for Defendants, David G. Beth,
                                                  County of Kenosha, Kyle Bissonnette, Jacob
                                                  DiCello, Gloria Galvan, Dereemeyum Haynes
                                                  and Jeremy May

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                                              7

      Case 2:22-cv-00970-PP         Filed 05/20/25    Page 7 of 7    Document 114-8
